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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA,

                                   Plaintiff,                              Memorandum & Order
                                                                           CR-05-0425 (JBW) (JMA)
        -against-

DOMINICK PIZZONIA,

                                    Defendant.
---------------------------------------------------------------X
A P P E A R A N C E S:

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AZRACK, United States Magistrate Judge:


        On September 22, 2005, defendant Dominick Pizzonia was arraigned before me on charges

of racketeering and murder. The government moved for a permanent order of detention based on

grounds that defendant poses both a danger to the community and a risk of flight, and the matter was

adjourned to September 30 for a bail hearing. At the hearing defendant Pizzonia proposed a

substantial bail package secured by property and numerous conditions of release. For the foregoing




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reasons, I reject defendant’s bail package and proposed conditions of release and grant the

government’s motion for a permanent order of detention.

       The Bail Reform Act authorizes pretrial detention upon the court’s finding that “no condition

or combination of conditions will reasonably assure the appearance of the person as required and

the safety of any other person and the community.” 18 U.S.C. § 3142 (e). Pretrial detention is

authorized only when the defendant is accused of certain offenses, including crimes of violence as

defined in the Bail Reform Act, 18 U.S.C. §§ 3142(f)(1), 3156 (a)(4), or where there is a serious risk

that the defendant will flee or obstruct or attempt to obstruct justice, 18 U.S.C. § 3142 (f) (2).

       In this case, defendant Pizzonia is charged in a superseding indictment of a racketeering

conspiracy in violation of 18 U.S.C. § 1962 (d). As part of the racketeering conspiracy, defendant

Pizzonia is charged with predicate acts of conspiracy to murder, under N.Y. PENAL LAW §§

125.25(1), 105.15 (McKinney 2004),         murder, under N.Y. PENAL LAW §§ 125.25(1), and

loansharking relating to extortionate extensions and collections of credit under 18 U.S.C. § 894 (a)

(1)-(2), 892 (a). In addition, the government advised the Court that evidence from an ongoing

investigation has linked defendant to an additional uncharged murder (Sept. 22, 2005 Mot. for

Permanent Order of Detention, at 4).

       In determining whether there are conditions of release that will reasonably assure the safety

of any other person and the community, the court is required by statute to consider information

regarding : (1) the nature and circumstances of the offenses charged; (2) the weight of the evidence;

(3) the history and characteristics of the defendant; and (4) the nature and seriousness of the danger

to any person or the community that would be posed by the defendant's release. 18 U.S.C. § 3142

(g). A finding of dangerousness must be supported by clear and convincing evidence. United States


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v. Rodriguez, 950 F.2d 85 (2d Cir. 1991); 18 U.S.C. § 3142 (f). However, that evidence may be

supplied through proffers and hearsay information, and the rules of evidence do not apply. United

States v. Ferranti, 66 F.3d 540, 542 (2d Cir. 1995).     The indictment accuses Mr. Pizzonia of having

participated in the commission of multiple offenses involving murder and extortion, which are

crimes of violence within the meaning of the Bail Reform Act. See United States v. DiGiacomo,

746 F. Supp. 1176, 1185 (D. Mass. 1990) (loansharking a “crime of violence” for Bail Act

purposes); United States v. Salerno, 631 F. Supp. 1364, 1371-72 (S.D.N.Y. 1986) (bail denied in

part due to indictment for murder).

       Defendant has proposed an elaborate bail package, which includes almost three million

dollars secured by the properties and homes of his family and friends.1 Additionally, defendant

consents to electronic monitoring and home detention. At the bail hearing, defendant’s counsel

proffered that the defendant would leave his home only in the event of a medical emergency and

with the consent of pre-trial services. While, the Second Circuit has rejected equally elaborate bail

packages from dangerous defendants who are alleged to be members of organized crime, this court

might have been persuaded to consider the defendant’s proffered bail package had certain activities

during defendant’s previous release on bail not been brought to the Court’s attention. See, e.g.,

United States v. Ciccone, 312 F.3d 535, 543 (2d Cir. 2002) (rejecting $1 million bail secured by real

property); United States v. Orena, 986 F.2d 628, 630-33 (2d Cir. 1993) (rejecting $3 million bail


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         Defendant’s brother has offered to put up his residence, which has a total equity of
$445,000. Defendant’s wife has offered to put up the home she inherited from her father, which
has a total equity of $515,086.91. Defendant’s son has offered to put up the house in which he
resides with his wife and three small children, which has a total equity of $499,323.80, and an
investment property, which has a total equity of $409,633.36. Defendant’s daughter-in-law has
offered an investment property, with a total equity of $430,452.21. Defendant’s long-time
family friends have also offered their family home, which has a total equity of $563,000.

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secured with real property, in-home detention, restricted visitation and telephone calls, and

electronic monitoring); United States v. Colombo, 777 F.2d 96, 97-100 (2d Cir. 1985) (rejecting

$500,000 bail secured with real property).

       This is not defendant’s first interaction with the criminal justice system. Four and a half

years ago defendant was indicted in this District, among other charges, on two counts of

loansharking. On April 25, 2001, defendant appeared before Magistrate Judge Cheryl L. Pollak for

arraignment. Defendant pled not guilty and was released on a $400,000 bond. Subsequently, on

November 7, 2001, defendant withdrew his not-guilty plea and pled guilty to collection of credit by

extortion or “loan sharking.” On April 12, 2002, District Judge Leo Glasser sentenced defendant

to twenty-four months imprisonment to be followed by three years of supervised release.

       Defendant has again been indicted for loansharking. The superceding indictment states that

“[i]n or about and between 2001 and June 2002, both dates being approximate and inclusive, within

the Eastern District of New York and elsewhere, the defendant Dominick Pizzonia, together with

others, knowingly and intentionally made an extortionate extension of credit to John Doe #2...”

(Superceding Indictment at 7-8). The fact that defendant engaged in loansharking while on pre-trial

release in 2001 and 2002, demonstrates defendant’s inability to abide by orders of the Court as well

as conditions of release, which plainly and unambiguously include refraining from criminal activity.

       I am persuaded, despite the defendant’s age and his counsel’s unflagging efforts to assert

defendant’s innocence at the September 30, 2005 bail hearing, that defendant poses an extreme

danger to society. Defendant has exhibited a complete lack of respect or fear of bail revocation

despite the fact that his continued criminal activity in 2001 and 2002 put $400,000 at risk of

forfeiture. Defendant Pizzonia was morally unpersuaded to protect the assets of his sureties in 2001,


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and I am under no belief that he would abide by any bail conditions I were to set in an effort to

protect the assets that comprise the generous bail package proffered by his family and friends.

       Where the bail package does not offer adequate assurance that the defendant will not violate

the terms of his bail, the court is left to rely on the word of the defendant “that [he] will obey the

conditions.” See United States v. Millan, 4 F.3d 1039, 1049 (2d Cir. 1993). In United States v.

Barnett, No. 03-CR-0243(NAM), 2003 WL 22143710, at *12 (N.D.N.Y. Sept. 17, 2003), the court

astutely noted that “past behavior best predicts future behavior and whether the court can rely on

a defendant’s good faith promises. Therefore, an analysis of how a defendant has honored his

criminal justice promises in the past is a critical component of the bail analysis.” This Court is not

prepared to rely on defendant’s word that he will appear in court in the future and that he will refrain

from criminal activity. Based on his previous behavior while released on bail, his “word” has no

credence with this Court.

       Additionally, I believe defendant does pose a risk of flight. He has been indicted in two

murders. Defendant’s current indictment alleges far more serious offenses than loansharking alone.

If convicted, defendant Pizzonia can be sentenced up to life imprisonment on each of multiple counts

of racketeering, conspiracy, and murder. While defendant voluntarily surrendered in 2002 to serve

a two year sentence for his confessed loansharking, the charges he faces now present a much graver

future for the defendant. The government has also implicated defendant in an ongoing investigation

into a third murder. Defendant has every incentive to flee the jurisdiction, and his past violation of

his 2001 bail package offers me no comfort that he would remain in the jurisdiction out of a moral

duty to his sureties in the currently proffered bail package.




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                                          CONCLUSION

       Defendant has evinced a lack of respect or deference for bail restrictions in the past. He has

not shown the proper concern for and gratitude to his sureties to safeguard their assets through the

simple acts of good behavior and abstention from criminal activity. Thus, despite defendant’s

proffered bail package, I am not persuaded that, even with almost three million dollars worth of real-

estate at stake, defendant would refrain from illegal activity or flight from the community.

       In sum, I find by clear and convincing evidence that the defendant presents a danger to other

persons and to the community, that he is a flight risk, and that no conditions of release contemplated

by the Bail Reform Act will reasonably assure the safety of other persons and the community.

Dominick Pizzonia will be detained pending trial. The government's motion for a permanent order

of detention is granted.




       SO ORDERED.

Dated: Brooklyn, New York
       October 3, 2005

                                               _____/s/______________________________
                                               JOAN M. AZRACK
                                               UNITED STATES MAGISTRATE JUDGE




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